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            UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               Oakland Venue


                            Report on Person Under Supervision


Person Under Supervision                         Docket Number
Casey Michael Antone                             0971 4:22-CR-00190 HSG

Name of Sentencing Judge: The Honorable Paul A. Crotty
                          Senior United States District Judge

Date of Original Sentence:      October 25, 2018

Original Offense
Count One: Conspiracy to Commit Access Device Fraud, 18 U.S.C. § 1029, a Class D Felony.

Original Sentence: Twenty-Six (26) months custody within the Bureau of Prisons (BOP),
followed by Three (3) years term of supervised release.

Special Conditions: $100 special assessment; $207,006.34 restitution; participate in an
outpatient program, which may include testing to determine if he has reverted to using drugs or
alcohol; provide access to any requested financial information; and be supervised by the district
of residence.

Prior Form(s) 12: None.

On May 4, 2022, a transfer of jurisdiction from the Southern District of New York (SD/NY) to
the Northern District of California (ND/CA) was finalized.

Type of Supervision                              Date Supervision Commenced
Supervised Release                               December 6, 2019
Assistant U.S. Attorney                          Defense Counsel
Jessica Greenwood                                Camille M. Abate (Appointed)




                                                                       NDC-SUPV-FORM 12A 4/6/2015
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RE:    Antone, Casey Michael                                                                   2
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                        Petitioning the Court to Take Judicial Notice

                                            Cause

 Charge Number         Violation

 One                   There is probable cause to believe that the person under supervision
                       violated Mandatory Condition Number Four that states you must make
                       restitution in accordance with 18 U.S.C. §§ 3663 & 3663A or any other
                       statute authorizing a sentence of restitution.

                         On January 28, 2019, Mr. Antone was ordered to pay restitution in the
                         amount of $207,006.34, however, a payment schedule of equal
                         installments was not established. The client satisfied the $100 special
                         assessment in full, as of February 11, 2019. On December 1, 2022, the
                         undersigned contacted Mr. Antone to determine why the client has
                         failed to make any payments toward his restitution balance since the
                         start of his supervision term and to instruct him to immediately make a
                         payment. As a result, Mr. Antone made a $100 payment toward his
                         outstanding restitution balance. The updated restitution balance is now
                         $206,906.34 after this most recent payment.

                         Evidence of this may be found in the Offender Payment Enhanced
                         Report Access (OPERA) dated December 2, 2022.

                                   Action Taken and Reason
Throughout the client’s term of supervised release, he maintained a stable residence in Fremont,
California. Mr. Antone has been employed with DoorDash in San Francisco, California, as a
delivery driver since October 11, 2021, while earning approximately $1,500/month. Due to the
COVID-19 pandemic, it has been challenging for Mr. Antone to make a sufficient living wage. To
Mr. Antone’s credit, he remained in compliance with the release conditions, apart from his
outstanding restitution balance.

His economic circumstances have been monitored throughout the period of supervision for
changes that might affect his ability to pay, and intermittent computer asset searches utilizing
commercial databases have not revealed unreported assets. Mr. Antone’s monthly restitution
appears commensurate with his ability to pay.

The U.S. Probation Office recommends the client’s supervision terminate on December 5, 2022,
as scheduled. The client understands he must continue making payments through the U.S.
Attorney’s Office Financial Litigation Unit, after the expiration of his term of supervision.




                                                                     NDC-SUPV-FORM 12A 4/6/2015
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Pursuant to 18 U.S.C. §§ 3613 (b) and (f), the liability to pay restitution shall terminate the later
of 20 years from the entry of judgment or 20 years after the release from imprisonment. Therefore,
the United States Attorney’s Office has the authority to collect monies from the client until
December 6, 2039. It is recommended the client be allowed to terminate from supervision with an
outstanding restitution balance.

 Respectfully submitted,                           Reviewed by:




 ___________________________________               ___________________________________
 Leon T. Dang                                      Sonia Lapizco
 U.S. Probation Officer                            Supervisory U.S. Probation Officer
 Date Signed: December 2, 2022


THE COURT ORDERS:

 X    The Court concurs and takes judicial notice
      Submit a request to modify supervision
      Submit a request for a warrant
      Submit a request for summons
      Other:




        12/5/2022
 ___________________________________               __________________________________
 Date                                              _ The Honorable Haywood S. Gilliam, Jr.
                                                   United States District Judge




                                                                        NDC-SUPV-FORM 12A 4/6/2015
